        Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 1 of 42



Dear Honorable Judge Lamberth,


Words cannot fully express the ache in my heart that I have felt these past many months. I know my
son, Isaac. Yes, I am biased in his favor, as any mother should be. However, I can also objectively
observe the situation.


My son was painted by the prosecution as having ill intent. I saw the videos of him shaking his head
in disgust at the people who were hollering at and being disrespectful to the police. I watched Isaac
constantly standing quiet in the midst of a chaotic situation on January 6. That in itself corresponds
with his demeanor during his entire adult life.


When I have been distressed he has always provided a calmness to the circumstances. He has
consistently brought composure in the midst of any discord in gatherings and conversations. He is
steady. He is patient. He honors his parents and respects his sisters.


My son does not have a criminal record. He is a modest, hard working young man. Our family visited
our nation's Capital several times as Isaac was growing up. He loves to visit this city and see the
amazing history here. He was in Florida on vacation when he heard about the rally in DC. It was a
spur of the moment idea to visit this great city. I remember this because he called his father and Ito
share in his excitement of being at a rally in such an historical setting. We were excited for him, not
realizing the mix of people and events about to take place.


I beg you to please have mercy on my son. He is not a political activist nor does he have a history of
such. Please exhibit grace on his behalf. Please grant him a deferred sentence, a suspended
sentence, or probation.




With Gratitude,    ^,


Mary'stur   o
      Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 2 of 42




                                                                                  1 September 2023

From: Paul D. Forsberg, Chief Warrant Officer, US Navy

To:      The Honorable Judge Lamberth

Subj: CHARACTER REFERENCE LETTER FOR ISAAC STURGEON

     I am aware of the verdict in the case of Mr. Isaac Sturgeon and am writing this letter on my
own personal behalf to implore leniency by the court for sentencing and, to provide insight into
his character. As a longtime acquaintance of Mr. Sturgeon, Isaac has always impressed me with
his qualities of honesty, integrity, and a strong sense of responsibility who feared God and loved
his country. Even when he was a teenager, I was always impressed with his maturity, natural
leadership style, and extreme talent, which is why I tried to recruit him for military service with
the Navy SEAL Teams.

     By all accounts, Mr. Sturgeon is a person of good moral character and maintains a positive
influence in his community. I believe Mr. Sturgeon has the potential to continue his personal
growth as productive member of society and a harsh sentence may hinder his ability to make
progress. I respectfully request that you consider a more lenient sentence, such as probation or
community service. I understand the seriousness of the charges that Mr. Sturgeon faces, but I
firmly believe in his capacity for redemption. Please take into account his character and the
potential he has to lead a law-abiding life. Thank you for considering my perspective in this
manner. I trust that you will make a fair and just decision with accounting all factors, especially
in regards to his character, personal history, and absence of any previous criminal record.

      My point of contact is




                                                 Very Respectfully,



                                                 Paul D. Forsberg
      Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 3 of 42




Your Honor,                                                                       September 5, 2023




Regarding the sentencing of Isaac Sturgeon:



Having known Isaac all my life—he is my brother—I beseech you for clemency on his behalf.

Isaac is known in Beaverhead County for his work ethic, taking care of his clients in a timely manner, and
for being a good business owner.

Although I am aware that the verdict was guilty, Isaac is not a violent person. The felonies now on his
record are a life-changing fact and he will have to live with those consequences in this life.

I ask for your mercy in his sentencing in terms of a deferred sentence or probation.



Respectfully,

Leah Sturgeon Anderson
                  Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 4 of 42




                                                                    >

    To The Honorable Judge Lamberth:
      I am Isaac's oldest sister. I understand that Isaac has been found guilty of several
    counts against him.
      I am Humbly requesting that a short sentence be considered or perhaps complete
    mercy.
      Isaac was always respectful to me as we grew up, and that did not change when he
    came to manhood. He has owned his own lawn business for many years now. He is
    known throughout the community and county as a very hard working man. A large
    percentage of his clients are seniors in their 60s-90s. He is greatly loved and respected
    by these people.
      I worked at assisted living and home care for 12+ years. I heard his name so many
    times and always with great respect. His clients not only deeply depend on him for the
    work he does for them, but they depend on his company after the work is done!! (Apple
    pie together, etc....and just visiting)
      Growing up, Isaac has had an appreciation for everything in his life and has worked to
    earn what he has. He is NOT lazy. He works hard and is not entitled in any sense of the
    word. He is a very productive human being. Even after the finding of his guilt, he has
    kept an amazing attitude and continued to work very hard for his clients.
      He has continued to show respect and love to his family and friends and has not acted
    out in any way because of his guilty conviction.
      I implore His Honor to consider allowing Isaac to continue being a productive member
    of society and granting him a deferred sentence.
      I am grateful for His Honor's kind consideration of these thoughts and request.

    Sincerely,
    Rachel Williamson(Sturgeon)




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      Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 6 of 42

To the Honorable Judge Lamberth


Sir, my name is Desiree Garwick, GS09 Department of Defense, and I am writing on behalf of Isaac Steve
Sturgeon who was found guilty earlier this year on 24 May 2023. While I understand the severity of this
verdict, I am writing to share my knowledge of Isaac Sturgeon and his character in order to appeal to
you on leniency in regard to these charges. I hope this letter reads well and has value to you in this
decision.

Isaac's character and helping heart have been evident to me since our meeting. He is careful with those
around them and makes sure they are safe and comfortable. He is morally black and white, a great
communicator, and incredibly reliable. He met me in a time where I did not have a great support
network and despite my protest that I could do everything on my own, he kept showing up and helping
me through difficult times with work, my home, and my family. Isaac has been an amazing role-model to
my 3 boys and my foster children that have come in and out of the home. He has become an important
part of our family dynamic and has made an impact on all our lives, and I dread the day he may not be
able to be there to help my sons navigate what it is to be a man of integrity in modern society. We all
love him deeply, especially my youngest son, Miles, who whispers his name when we say prayers at
night. Isaac can appear stoic, but it is because he is a very logical and sturdy man, not an uncaring one.
He has been my rock through the storms I have weathered, and I cannot imagine doing life without him
as my anchor.

Isaac has continually shared his journey with me throughout this process, and he has remained steadfast
and dedicated to those around him. After his conviction his strength has not bowed. I have watched the
weight of this trial, and finally, conviction affect him, but he continues to be a kind, loving man who
doesn't show a slow in his pace to accomplish what he sets out to do. He has not changed his soft heart
and kind spirit towards others, but the heaviness that he carries occasionally shows as sentencing draws
nearer. He stands firm in his beliefs, and I know he will accept any punishment deemed, with grace and
sovereignty. His love of country is one of the many things I regard him for, especially being a military
brat and affiliate. His sentencing makes me worry what his absence will do to my family and his own.
Many people rely on him for help, to include some of his elderly clients that he cares for. I have
witnessed him go out of the way for odd jobs to assist those who need it most. Not everything he does is
a big thing, some are small but so meaningful to those in his life. Whether it is taking the time to sip
coffee with a widow and make sure she is ok or helping a gentleman who can no longer get around well
with menial tasks around the home; these people are not just clients, many are like family to Isaac. He's
the person you call when you're in need and he will show up.

His entire life has been the business he has built and the clientele that has stuck with him. He has lost
many of his clients due to his charges, and he accepts his responsibility in this. This doesn't include the
fair-weather friends who have abandoned him in this process. He is admirable in the way he carries
himself through the doubts of others and continues to do his best in everything he does. This length of
his sentence could kill the lifeblood he has put into this business.

Isaac is an incredible man. I know others have written letters and I desperately implore you to consider
our voices. I cannot put into accurate words what he means to those around him, but his absence will be
felt far beyond Dillon, MT. Thank you for your time in reading this letter, I hope it helps you come to a
favorable decision for Mr. Sturgeon.


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               OFFICE- OF THE SUPERINTENDENT
                                  Randy Shipman.
                       Dillon Llcnicntary School Disuk   10
                                22 N. C:ouuom Dr.
                                Dillon, MT 59725

8/21/23

To The Honorable Judge Lamberth:

My name is Randy Shipman, and I would like to provide the Honorable
Judge Larnberth a character reference letter on behalf of Mr. Isaac Sturgeon
as he awaits sentencing. Through my position as the Superintendent of the
Dillon Elementary School District, and as a homeowner here in Dillon,
Montana, I have worked closely with Isaac and his family over the years.

Mr. Sturgeon is a successful business owner here in Dillon. The main
reason it is a successful and thriving business is because of the hard work
and positive interactions that Isaac has with all he encounters. Mr. Sturgeon
is a quality, honest, and hard-working individual. In my work and
interactions with a multitude of people I have never heard a negative
comment made about Mr. Sturgeon in his personal life or business dealings.

I realize that Mr. Sturgeon was found guilty, but he is a good person with
high character who got caught up in a bad situation. He has had no prior
problems and leniency would be appropriate and appreciated. Overall, I
believe Mr. Sturgeon is a quality individual. I hope that you find it in your
heart to give a quality, hard-working, productive individual a lenient
sentence so he can get this behind him and move forward with a productive
life.

I appreciate you taking the time to read my letter. If you would like to
discuss this further, feel free to contact me.

Sincerely,




Randy Shipman, Superintendent
Dillon Elementary Schools




 The only person you are destined to become is the person you decide to be.
                                          Ralph Waldo Emerson
      Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 8 of 42




September 2, 2023

To the Honorable Judge Lamberth:

Your Honor,

I am aware that Isaac Sturgeon has been found guilty on several important counts. I believe his case is
exceptional, and I'm writing this letter to urge exceptional clemency in the setting of his sentence.

I know Isaac quite well. Quite contrary to what the evidence in the case may appear to show, he is a
wonderful young person in every way, right in the midst of building an exemplary life. He has built a
solid business here in Dillon, who many in this town (including myself) depend upon every summer. He's
smart, entrepreneurial, and incredibly hard-working. He's also straight up honest, super likable, and
super dependable. Right now he is just beginning a new romance, and his life is all lined up to be really
good. Left alone right now Isaac would be near-perfect as a citizen of our town, a young person up and
coming who earned his success the hard way, and who would only continue to grow. With my own eyes,
I have seen nothing but a kind, highly-principled and hard-working young person, who believes in his
country, believes in himself, and always tries to do the right thing. This doesn't line up with the legal
case, I know. Believe me, I have no possible explanation for that except he was upset enough by the
election to travel to the protest, and then he ended up — very definitely — in exactly the wrong place, and
at exactly the wrong time.

I had one more thing to say, really quick. All you really need to know about me is that I myself built a
successful business, I myself have valued honesty and hard work all my life. I'm neither Republican or
Democrat, but I am strongly rural, and loyal to my community. The main thing though, I'm old now, 72.
don't have a lot of years left. My whole life I have loved this country. Importantly, I have also had a
special love for the law itself. I believe you and I have this in common — a love of the law itself. Like any
love, we recognize the law isn't perfect, it can't be, but it can be wonderful, embodying so many things
that matter — ethics, liberty, fairness, tolerance — and trying to carry those things forward into the future
by capturing and preserving hard-won wisdom across the years. Isaac did not hurt anybody, you know
that from the evidence. You don't know him as I do, but he is simply not a hurtful person. He didn't go
there that day to do harm. I respect the legal process to judge his guilt or innocence according to law.
am hoping with all my heart that, as I near the end of my own life, I will see once again the best side of
our legal system. I will get to see a dose of mercy applied at the moment of Isaac's sentencing. I don't
know you personally, Judge Lamberth, but I am praying that you can see what I see in Isaac, and that
you can do that.

Respectfully and sincerely,




Pete Wakeman
Dillon, Montana
         Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 9 of 42




                                            Kevin H. Brown
                                       Senior Chief Petty Officer
                                      United States Navy, (Retired)



                                                                                        28 August 2023
                                                                                        Monday


Re: CHARCTER REFERENCE IN SUPPORT OF ISAAC STURGEON


To Whom It May Concern,


  1. I have known Isaac Sturgeon since 2016. I met him through an acquaintance/referral and then later
hired him as my landscaper. His work ethics are beyond reproach, as well as his professional demeanor and
kind mannerism.

  2. I can assure you Isaac is a person of remarkable maturity, reliability, and integrity. I have a great deal of
faith and trust him without reservation.

  3. Mr. Sturgeon loves to travel abroad during the off-season when he is not landscaping (Autumn/Winter).
and has many interesting stories of his adventures upon his return to the states.

 4. In conclusion. Isaac is a model citizen who loves this country and continues to support our community.
Furthermore, he would be a valuable asset should any company be fortunate to hire him.



                                               Ve Respectfully,
       Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 10 of 42




The Honorable Judge Lamberth                                   August 29,2023.



      Thank you for the opportunity to write this letter regarding Issac Sturgeon of
Dillon, Montana. I have known Issac for four years. I hired him to maintain my
property because my wife and are elderly and handicapped and can no longer do
it.

  In addition to his diligent work I have gotten to know him personally. I realized
he developed very conservative social and political values as part of his
upbringing. I truly believe he went to Washington thinking it would be a large
Trump rally. I suspect he had no clue that it would turn into an effort to change
the outcome of the election.

  I have not observed any signs of aggressive thoughts or behavior. He is very
dedicated to his business and works hard. This involves helping elderly folks like
my wife and I. He will take on any task to help help others.

      He is very personable and does not try to push his values on others. I believe he
found himself in the wrong place at the wrong time.
      Again thank you for permitting me the opportunity to share my thoughts.




                                                           Sincerely,

                                                       Samuel A. Guttman
     Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 11 of 42




September 5, 2023




United States District Court
Honorable Judge Royce Lamberth
District of Columbia


Your Honor,


I would like to take this opportunity to provide a few details in relation to the upcoming sentencing of
Issac Sturgeon. I've known Issac for the last 6 years on a business and personal level. I have found Issac
to be completely honest in his business dealings with me, courteous, and prompt. I trust Issac implicitly
while working on and around my property. lassac has conducted landscaping and lawn maintenance
work on a moment's notice on three occasions within the last year for me, due to unexpected medical
emergencies.


On a personal level, Issac is friendly and helpful, and always makes time to check in with me and my
current health status.


This is what I know about Issac. I also know that I am one of many individuals within our small
community that have a business relationship with Issac, and we will all be worse off if he is sentenced to
jail. From what I understand, Issac has been a model defendant while awaiting the conclusion of his
trial. I am very confident that if he is subjected to steady supervision by the Federal Probation
Authority, he will continue to abide by all conditions demanded of him.


I am grateful for your consideration into this matter.


Respectfully,




Phillip R. Buford
                 Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 12 of 42




            To the Honorable Judge Lamberth,

            Below is a letter I wrote to the court regarding Issac Sturgeon on July 29,
            2021. Since that time, Issac has continued to work for me. He works
            independent of supervision and I am very happy with his job performance and
            self motivation. I have spoken to Issac about the incidents that occurred on
            January 6th and I know that he regrets his participation. I am writing to ask
            Your Honor to show leniency in sentencing him. He is a very good man who
            made a young man's mistake.

            Robert Dixon




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                  Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 13 of 42
9/2/23, 4:44 PM




            By way of introduction, my name is Robert Dixon and I have known Issac
            Sturgeon for several years. Issac works for me doing lawn and maintenance
            on my ranch in Lima, Montana. He is honest, hard working, timely and
            respectful. I have never known him to be a trouble maker or antagonist. He is
            an honest, hard working man who has made himself successful in our small
            community.

            Although I have always been a part of Lima and have operated the working
            cattle ranch for over 30 years, I am also a retired former Managing Director at
            Morgan Stanley and worked in San Francisco and Silicon Valley for over 40
            years. As an absentee owner, I need the people who work for me to be honest
            and dependable and Issac Sturgeon has proven to be just that.

            If you would like to contact me regarding Issac, you may contact me at


            Robert Dixon




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         Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 14 of 42

  TO:    The Honorable Senior Justice Royce C. Lamberth                  FROM:      Kenneth C. Hunt, MD




Dear Justice Lamberth,


        The Sturgeons and my wife and I all moved to Dillon in the first years of the 1980s. Over these
many decades, we have had the distinct pleasure of their friendship and have shared the joys and
sorrows of raising our children side by side—watching them go through successes and failures, seeing
them always trying to learn from their experiences and grow into responsible adults.


        I've known Isaac since delivering him into this world and have watched him become a
responsible, hard-working, and levelheaded young adult. I, like so many other of all ages and
backgrounds, have grown to trust, love and rely on him—I regard him as a not only a fine young man,
but also a fine citizen of this town, and of the country.


        That is why last year's behavior was so completely out of character for him and was so puzzling to
me and all who love him. I don't pretend to know why this incident triggered such a painful departure
from the ambitious and caring individual I've come to know. I would never presume to excuse his
actions—neither would his parents, nor he. In thirty years of medical practice, I've rarely encountered
behavior so far removed from the usual actions of a young man who under normal circumstances stands
on such solid ground of responsibility and accountability than with Isaac and this incident.

        We are all heartened to see that since then, his life and action in being a dutiful partner, a loyal
and caring son, and a new uncle are exemplary and show us that he is back on track.


        Do previous years of responsibility and his present positive actions (that to me, represent the
Isaac whom his parents and he have worked so hard to achieve) entitle him to leniency regarding his
failings on January 6th? Of course not, and I know Isaac and his parents agree. On the other hand, does
his history of no such previous offenses and the highest level of personal responsibility suggest that, if
mercy and a second chance were granted to him, he would make his very best effort to make amends for
his admitted mistakes? I believe with my whole heart that the answer is a powerful yes.


        I humbly request that you give Isaac the gift of a second chance, knowing he will spend the rest
of his life treasuring and stewarding that gift, most honorably and gratefully.

With the highest respect and regard,


                       C

Kenneth C. Hunt, MD, FAAFP
   Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 15 of 42




                            Beverly and Frank Ford




                                                                    31 August 2023

Senior Judge Royce C. Lamberth




Dear Justice Lamberth:
   I write this with the intent of aiding you as you consider the sentencing of Mr,
Isaac Sturgeon of Dillon, Montana. I offer this viewpoint for your consideration not
as an attorney or one skilled in matters of the law, but as a Montana resident whose
experience includes a career as a Naval Officer (submarines and six years of
financial management in Washington D.C.); successful business entrepreneurship;
service as a back-country Ranger (LE) for eight years or more in Yellowstone
National Park; several years as Director of Emergency Management for Madison
County, Montana; and my current role of Executive Director of a charitable
enterprise here in Montana... .all of which have involved leading, working with and
directing young men of Mr. Sturgeon's age and background.
   Mr. Sturgeon, in his role as a lawn care provider has cared for the yard of my
home near Sheridan for some time now. I have always found him to be hard-
working, trustworthy and thorough in his work. I look forward in the hope of
continuing that working relationship. I would strongly suspect that the actions for
which he has now been found guilty in your court, while no doubt reprehensible and
certainly deserving of correction, are those of an idealistic and impetuous young
man, caught up in the excitement of the crowd and the moment. I very much doubt
either he personally nor society as whole would benefit from his incarceration and I
therefore suggest you consider some form of supervised release or parole, suspended
sentence or the like as the appropriate sentencing on your part.
   In closing let me say that the thoughts expressed herein are completely my own
and the subject of no coercion or pressure whatsoever from anyone. I would very
much look forward to working with Mr. Sturgeon again at some time in the near
future. Thank you for your consideration in this matter.
                              Sincerely and with respect,


                                    Fran Ford
                  Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 16 of 42
9/2/23, 4:38 PM




    To The Honorable Judge Lamberth,


    My name is Calvin Erb. I am a retired attorney. As stated in my previous letter, I served
    as a prosecuting attorney for over 14 years and also had a private practice for 35 years.
     I continue to operate a cattle ranch in Beaverhead County Montana along with my other
    duties.

    I have been acquainted with Isaac Sturgeon for several years. I am aware of the verdict
    of guilty he received in federal court. Having observed Isaac's actions and character in
    our community over the years and more recently, I know that he is an asset, not a
    detriment, to our society.

    I ask that his sentencing be minimal. He has run his own business for many years and
    his clients depend on him. We currently use his services and look forward to continuing
    this business relationship.

    He has no criminal background. He is a dependable, hard-working young man who
    comes from a good, stable family. He is loved by friends and family.

    I request that you manifest grace and leniency on Isaac's behalf.


   Respectfully,

    Calvin Erb




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         Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 17 of 42




To the Honorable Judge Lamberth,
I have known Isaac Sturgeon for nearly two years, and have worked professionally with
and for him on many occasions. During our time working and traveling together, I have
had several personal conversations with Isaac. I know him to be a peaceful, respectful,
and clear-thinking individual. He has served his community through his lawn care
business for many years, and his work ethic is exemplary.
For these reasons, I respectfully request a strong consideration for leniency toward Mr.
Isaac Sturgeon when evaluating his conviction.

A fellow citizen,

Joel Smith
     Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 18 of 42




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      Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 19 of 42



9/10/2023



To the Honorable Judge Lamberth,


I have known Isaac for nealy two years, and have worked professionally with and for him on

many occasions. During our time working and travelling together, I have had several personal

conversations with Isaac. I know him to be a peaceful, respectful, and clear-thinking

individual. He has served his community through his lawn care business for many years,and

his work ethic is exemplary. For these reasons, I respectfully request a strong consideration

for leniency toward Mr. Isaac sturgeon when evaluating his conviction.



From Mr.Wayne Nelson.
     Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 20 of 42




Your Honor,

I am writing to respectfully request leniency in the sentencing of Isaac Sturgeon. I understand
that there was a guilty verdict, however, I kindly implore you to consider several factors about
Isaac Sturgeon that may not have been fully highlighted during the legal proceedings.

I have had the privilege of knowing Isaac Sturgeon for many years. Isaac has been a part of my
community and has been an acquaintance of the family, so I feel qualified to speak on his
behalf. Isaac is hard working, efficient, kind, and extremely competent. It is not uncommon to
see Isaac around our small town tending to someone's lawn, or driving to a job. He appreciates
a job well done, and makes sure he does that for his customers. His lawn care keeps him very
busy during the summer, and when that season is over, he travels quite extensively.

Because of social media, I have enjoyed pictures and videos of Isaac in far-away places such
as the pyramids in Egypt, various places in Africa, Mongolia, Papua New Guinea, and more.
Isaac taught English overseas when he was younger, and has a place in his heart for children.
One of my favorite videos of him is at a wedding in Africa and he is lounging with kids all around
him laughing and having a great time. In summary, I speak very highly of Isaac. He has always
been very respectful and kind to me and everyone I know. I would, without hesitation, trust him
in any endeavor and believe him to be a responsible, productive individual.

I respectfully ask for your consideration of these factors as you determine an appropriate
sentence that balances the verdict with the life of this young man.

Thank you for taking the time to read my letter and for your dedication to justice. I trust your
wisdom in making a fair and just decision in this matter.

Sincerely,



Starr van Dalen
                   Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 21 of 42
8/26/23, 3:23 PM




                                                                                                 Fri, Aug 25, 2023 at 5:14 PM


    I have known Issac Sturgeon for his entire life. He has always struck me as a personable, high
    quality person. I have not known him to be an unruly, dangerous or angry person. I do know that
    he has a strong family life and a bond with his sisters. He is a man with persistence, who has built
    a successful business through hard work and intelligence. He puts the customer first and it shows
    through his success.
    I feel that he has a lot to contribute to his community and to his country. I would hope that the
    court will consider the quality of person that he is while considering what his punishment should
    be.

    Gerald Calvert




https://mail.google.com/mail/u/O/?ik=62b191dfbc&view=pt&search=all&permthid=thread-f:1775244719087574877&simpl=msg-f:1775244719087574877   1/1
    Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 22 of 42




Dillon, Montana .~

April 7,2021



To Whom it may Concern,

      I have known Isaac S. Sturgeon from the day he was born to the present.
Isaac is honest, hardworking, responsible, and self-reliant. He has always had the
highest regard for law enforcement and the military. To think he would try to
harm anyone in uniform or otherwise is inconceivable.

      He is someone who has and will continue to have my support and trust. He
has never shown any tendency toward violence to anyone, and I am sure he will
never do so in the future.

       No doubt Isaac, like so many of us including law enforcement with decades
of training and expertise, will wonder how he could have underestimated the
ability of so very few to create such chaos for so many. I anticipate he will spend
the rest of his life trying not to underestimate that potential danger again as we
must all try to do.



Sincerely,



Kennet C unt MD                 --~             "           PP

Family Practitioner
       Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 23 of 42




                                                Tue, Mar 23, 2021 at 9:59 AM


I am writing this letter in reference to Isaac Sturgeon. I am his aunt who
lives in Ohio and has known Isaac since he was born. I am so very proud
he is my nephew!
He is an extremely hard and trustworthy worker who owns his own lawn
care business.
Isaac loves to travel the world and see how other people live and work.
He would do anything for anyone and give them the shirt off his back!
Isaac is extremely trustworthy and devoted to whatever he does and I've
never known him to ever cause anybody any problems. He loves to work
out and keep in shape and is very healthy. As a man who lives in
Montana, he loves to hunt as does his whole family and most
Montanans. I am truly grateful that God has blessed me with such a
wonderful family member in my life.
Jo Ann Motts
    Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 24 of 42


Linda Nottingham



   March 18, 2021


       To Whom It May Concern:

       My name is Linda Nottingham and I am a friend of
       Isaac Sturgeon and his family. I have known Isaac
       all of his life. I spent time with his family at church,
       on various outings, and over several meals together.

       Over the years, I have watched Isaac grow into a
       kind, polite, and respectful young man. I find him to
       be hardworking, dependable, and trustworthy. These
       qualities are manifested in what he does for a living.
       He has created his own successful lawn care
       business and is dedicated to providing his clients
       with the best job that he can.

       It is my pleasure to write this character reference
       letter on behalf of Isaac.i would be happy to answers
       any questions that you may have. My phone number
       is                 Thank you.

       Sincerely,
       Linda Nottingham
   Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 25 of 42




Joseph Nottingham



April 1,2021



To Whom It May Concern:

My name is Joseph Nottingham and it is my pleasure to write a character reference letter for Isaac
Sturgeon.

I have known Isaac since he was born. I have watched this young man grow up into a hardworking,
prosperous, self-made and self-employed citizen of Dillon, Mt.

Isaac works long hours from April to November so he can enjoy his passion of travel; seeing and doing
what most of us only dream to do.

I am proud to know Isaac and I know he is trustworthy and honorable. If you any questions please feel
free to contact me. My phone number is                . Thank you.

Sincerely,

Joseph Nottingham
     Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 26 of 42




                                                   Tue, Apr 13, 2021 at
                                                               6:56 PM

To whom it may concern,
 My name is Pat Kennedy, Front-end Manager, Town & Country
Foods, Dillon, MT. I have known Issac Sturgeon for 3 years and
have found him to be an outstanding human being. He does a
fantastic job managing the store's landscaping. He is a hard worker
and very reliable.
Sincerely, Pat Kennedy
      Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 27 of 42




April 19, 2021

RE: Isaac Sturgeon

To Whom it may concern,

This letter is to let you know I think Isaac is a man of character. I saw Isaac grown up in this community
a good kid and as a young man he is quiet and kind. We have attended the same church for the last
year. I have owned a business for 46 years, having done so it is a reality what is necessary to succeed.
Isaac shows these strengths in self-discipline, honesty trustworthiness, and a positive work ethic. All
evidenced in how successful his business has been over the years. To be a constant source in his field he
has to have a faithful strong customer base who value his work and Isaac has.

Thank you for your time.



Sincerely,



Tom Miller
       Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 28 of 42

DEER LODGE MED CIR FAMILY MEDICINE


                                                                        DfERjQDliGE
                                                                                  CENTER
                                                                        MEDICAL




March 31, 2021

Isaac Sturgeon




RE. Isaac Sturgeon



To Whom It May Concern.

I have know Isaac Sturgeon for several years.
He is a reliable, honest and trustworthy individual.
He is hard working and focused in his work.
He :s impeccable with his word.
He is dependable and has an outstanding work ethic.
If he makes a promise, he keeps it,
He is level headed and keeps h°s cool.
I am not aware of ANY history of violent or irrational behavior ever.
Thank you for your consideration.

Sincerely,
  *,         '7


       H Wilson, MD
Internal Medicine
Chief of Staff
 Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 29 of 42




Elsie Lawlor




I 've known I ssac's Sturgeon aquaintenance 3 1/2 years since his imployment regarding
interviewing individuals for Landscaping & Lawn work, Isaac kept his appointment as
scheduled was polite, we discussed work schedule and cost.

 His mannerism was impressiive he held our conversation in regards to my needs revealing
several fine qualities, methods of the program as to scheduleing for completeing work
involved.

Isaac's example of his commitments and dedication shows in his work. I have witnessed him
being enthusastic and a helpful individual who displayed a strong moral character.

Upon his work manner over the years he has been courteous with a very profound
professional manner that never failed to impress me with his business and work methods
which were cerainly noticed by family and friends, as to who was doing the landscaping &
lawn.

It is with confidence that I recommend Issac's character as a fine young man in fulfilling work
requested.

If you have any further questions please contact me.




Elise A. Lawlor




                                               1
     Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 30 of 42




July 28, 2021




United States Public Defender's Office
Washington, D. C.



Greetings,

This character reference letter is written on behalf of Isaac Sturgeon. I have had the pleasure of utilizing
Isaac's company, Isaac's Lawn Care, for the past 4 years.

Isaac has always been professional, honest, and completely dependable providing landscape and
hardscape work. Isaac is fair in his business dealings, and completes all tasks in a thorough and timely
manner.

On a personal level, Isaac exhibits a friendly and courteous demeanor, and has always been considerate
and even tempered. I consider Isaac a successful business person, and a true resource to our
community.

Please feel free to contact me if you have any further questions.

Sincerely,




Phillip R. Buford
  Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 31 of 42




July 28, 2021

Isaac Sturgeon



To Whom it may Concern.

I have been a pastor for 40 years, the last ten of which has been in Dillon, Montana, at
First Baptist Church. I have come to know Isaac Sturgeon in the past year as he began
attending our church in the summer of 2020.

I know Isaac to be a hard worker as I often see him working in the yards around our city
performing lawn care or removing tree or other debris. In my visits with people around
town he is always spoken of positively by those who have employed his services.

During this past year I have seen him to be a man who shows great respect to me in my
position as pastor of the church. He has exhibited a humble spirit when I comment on his
positive qualities or achievements. He has shown a willingness to participate in
congregational singing and is attentive to the teaching of God's Word.

In the aftermath of the events on January 6, 2021, I have assured him of my prayers for
him. He has shown appreciation for my concern and hope for the future. As a pastor I
deal with many people who wish things had happened differently in their lives. Isaac
likely feels that way now. He, like so many others in many other ways, made a bad
decision that placed him in the wrong place at the wrong time. However, I would not
conclude from this that he is a problem or concern to society in need of additional
punishment. He has gone through months of punishment already.

Without hesitation I willingly offer this recommendation to the character of Isaac
Sturgeon. If I can be of any further assistance, feel free to contact me.

Sincerely,




James D. Grosse
Pastor
      Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 32 of 42




                                                                         'r
                                     Kevin H. Brown
                                    Senior Chief
                            United States Navy, (Retired)



28 July 2021


RE: Character Reference for Isaac Sturgeon
To Whom It May Concern,

   I have known Isaac Sturgeon since 2016. I met him through an acquaintance and
then later hired him as my landscaper. His work ethics are beyond reproach, as well as
his professional demeanor and kind mannerism.

   As a result of knowing Isaac for the past 5 years, I can assure you that he is a
person of remarkable maturity and reliability. He is one of the most personally
dependable and financially responsible people that I know. I have a great deal of faith
in Isaac and trust him without reservation.

  I should also point out that Isaac is a good friend who is generous, thoughtful,
extremely interesting and quite an intelligent person. He is a person who loves to travel
abroad during his off-season from landscaping duties and has many interesting stories
of his adventures upon his return to the states_

  Based on the foregoing, it should be quite obvious that Isaac is a model citizen and
continues to contribute to our community. Furthermore, he would be a valuable asset
should any company be fortunate to hire him.

  Should you have questions, please contact me at



                                   Very    spe     i
                                           ,,,                  C£4)
  Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 33 of 42




July 29, 2021

Kimberly A Rieman




To Whom It May Concern:

I have known Isaac Sturgeon for over ten years. Over the years I have always enjoyed talking
with Isaac and he has always been polite and respectful toward me. Occasionally, over the past
7 years, I have employed Isaac to mow my lawn and he has always performed the work very
well and according to my directions within a timely manner.

Over the years of interacting and talking with Isaac, I would describe him as a polite young man
who is highly disciplined and devoted to doing a good job. I have found him to be very reliable.

Should you have any questions or need additional information concerning Isaac Sturgeon
please feel free to contact me at              .

Sincerely,

Kimberly A Rieman-Gattone
     Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 34 of 42



                                              Martin R. Malesich

                                              H




July 29, 2021

Ref: Isaac Sturgeon

Personal Concerned


Dear Sir.

Let me introduce myself. I am 78 years old and was born in Dillon, Montana. After graduation from the tM-
Western, Dillon, Montana, I worked for the Montana Army National Guard for 35 years. I worked at the Dillon
Armory for 33 years as a Unit Administrator. The last two years of my military service. I was appointed as the State
Command Sergeant Major at Helena, Montana. After my retirement from the Montana National Guard, I filed for
Mayor of the City of Dillon. I was elected Mayor and served for 12 years in that capacity from 1 January 2002 to 31
December 2013. During this period, I served as a Reserve Beaverhead County Deputy for 22 years. I also taught
Hunter Safety for 33 years_ Therefore, I feel qualified to comment on Mr. Sturgeon.

For many years I have known, observed and had a professional relationship with Mr. Isaac Sturgeon. During this
period, I have found Isaac to be honest, dependable and hard working_ He has displayed integrity and personal
courage in his personal and professional life. He is also very patriotic and loyal to this country!

If you have further questions, please do not hesitate to contact me




                   *LA
Sincerely,



Martin R. Malesich
Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 35 of 42




 To whom it may concern;
 I wanted to write a recommendation for Isaac Sturgeon as I have
 found him to be a young man with a great work ethic as well as
 a character which is above reproach. Isaac is a very trustworthy
 and honest young man whom I am very comfortable with being
 in my home completing tasks when I am not there. He works
 diligently on every task assigned to make sure that it is done
 correctly the first time but also well within the time frame given
 to him for completion. Isaac has shown that he can take
 instruction well but also is able to articulate his views on work
 topics which would make the job more cost effective as well as
 profitable. Due to these qualities, I am proud to have him
 working with my team as well as in my home as needed. Isaac
 is very polite and well respected around the community for just
 these reasons as well as his respect and polite manner. I have
 hosted Isaac in my home for different events and have seen him
 interact with my family and grandchildren and have seen first
 hand the same care and respect from his as an upstanding young
 man that I have witnessed on the worksite. I am proud to have
 him work with my company and to call him a friend outside of
 the job site.

 Virgina Peters

 Owner — Evento Bello Concepts and Design
       Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 36 of 42




To whom it may concern,


I want to pass along my experience working with Isaac Sturgeon. In my many dealings

with Isaac, I have found him to be very honest and conscientious during our time

together. Isaac is always willing to go above and beyond to finish the project not only

on time, but also to the demanding specifics that each of the jobs he does for me entail.

I know that I can count on Isaac to be both timely in his attendance, but also honest in

his work ethic which is beyond reproach.. I have found Isaac to not only be a pleasure

to work with and someone whose opinion I value at the work site, but also a trustworthy

young man who is a credit to our community. Multiple times Isaac has, of his own

accord, either stayed late to help finish the project's need or come in to help out my

family on his own, sacrificing his own time to help others. I am gratefulto have Isaac on

our team both professionally as well as personally, and look forward to working with

this solid young man more in the future.


Kon R. Peters

Owner—Kon Peters Cattle Company
   Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 37 of 42




Keith R. Barton
Captain, U.S Navy (ret)




To the Presiding Judge.

My name is Keith Barton. I am a retired Nasal Officer and aviator with 30 years of active duty
service, and currently with the Federal government managing national security-related programs
for the Executive Branch. I am writing on behalf of Isaac Sturgeon; I have known Isaac and his
family for over 16 years. From 2005 to 2008 I was the Commander, U.S. Military Entrance
Processing Command Western Sector, responsible for 32 recruit processing stations throughout
the western U.S. It was during this time that I developed a close relationship with the Sturgeon
family, both professionally and personally.

Isaac's father Steve, the pastor of Dillon (Montana) Baptist Church. served as a volunteer
chaplain at my Butte station. Steve was unquestionably my most dedicated and selfless member
of my volunteer chaplain corps. His passion for the command's mission and concern for military
applicants were evident and despite iiving over an hour from the station. Steve made multiple
trips every week in his personal time to offer his services. Steve's character, integrity, patriotism.
and personal values are beyond reproach, have earned my utmost respect, and why I value his
friendship. Not surprisingly, Steve and his wife Mary instilled those qualities in their children,
and it has been a pleasure to watch Rachel, Leah, and Isaac develop into the young adults they
have become. Isaac in particular has demonstrated incredible initiative, resourcefulness, and self-
reliance for someone his age. Specifically, he started and built one of the most successful
landscaping business in his region, and has established himself as a pillar in his community.

I ask that Isaac's character, his community standing, and otherwise unblemished record be taken
under consideration in his hearing. I do not know the specifics of his involvement and it is not
my intent to excuse, rationalize, or den) any actions borne out by evidence. I am confident
however that whatever his involvement was as events unfolded. it was unplanned, without
malice or nefarious intent, and by his own admission regrettable. I have only known Isaac to be a
responsible, hard-working young man with outstanding pedigree and potential, and only wish for
him to have the opportunity to continue to demonstrate that going forward. I appreciate your
taking the time to read this letter. I can be reached at the phone email listed above if you require
any further information. Thank ) ou.

Respectfully,


Keith Barton
Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 38 of 42




 Margaret Jappe




 July 30, 2021



 RE: Isaac Sturgeon:



 My name is Mrs. Margaret Jappe and I am writing this letter as a character reference for Mr.
 Isaac Sturgeon_ I have lived in Dillon, MT since 1967. My husband and I were retail business
 owners in the community until 1987. We still live in Dillon, MT.

 I have personally known Isaac Sturgeon and have employed him for the past ten (10) years
 doing landscaping work on our properties. When you call him to do a job, he gives you dates
 and times that he will come and complete the job. I have never received a call that he would
 not come when he committed to a time. He is dependable and will do what he says he will do.
 I have never known Mr. Sturgeon not being an upright character in the community. He is one
 of the most reliable, honest, respectful and hardworking people I have employed in the past
 years.

 Isaac Sturgeon is the type of person that will take and accept any and all responsibility for his
 actions. He has proven that through his work ethics on jobs he has done for us. When he
 comes and does a job for us, we never have to wonder how the job will be done. It will be done
 well and up to our requirements.

 Over the years I have watched Mr. Sturgeon build what appears to be a successful business.


 Sincerely,




 Margare appe
             Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 39 of 42


Re: Isaac Sturgeon
8/2/21

To whom it may concern:

My name is Calvin Erb. I am a retired attorney. I served as a prosecuting attorney for over 14 years
and also had a private practice for 35 years. Presently, I operate a cattle ranch in Beaverhead County
Montana and serve as chairman of the Board of Directors for the Bank of Commerce.

I have been acquainted with Isaac Sturgeon through his landscaping business for several years. We
have utilized his services during this time and have been impressed with his work ethic and honesty.
We plan to continue to use his services. I have the utmost confidence that Isaac will follow any
guidelines imposed by the Court. Mistakes were made, lessons learned. It's time to heal and move
on.

Respectfully,

Calvin Erb
      Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 40 of 42




David Shapnick M.D.,




August 1, 2021

To whom it may concern,

lam a retired Board-Certified ophthalmologist, l graduated from the University of Miami School of
Medicine in 1976, Completing ophthalmology residency in 1980 at the George Washington University in
Washington D.C. I practiced in Denver, Seattle, Butte and Dillon Montana during my 36-year career.

I first met Isaac Sturgeon at my office in Dillon, when he was about 10 years old. He had gotten
caterpillar spines in his eye while out hunting bugs. I remember that he was one of the most cooperative
children I had ever encountered in my practice. He let me remove these particles from his eye (and
there were many), under topical anesthetic. Most young children would have required a general
anesthetic forth is procedure. His father Steve was with him and he explained to Isaac what he needed
to do and I could tell that they were close.

I became friends with the Sturgeon family and spenttime with them at their home and exploring the
great Montana outdoors. lsaacwas always kind and respectful, yet inquisitive and all boy. We hunted
fossils together, he demonstrated his skill with the homing pigeons he raised and fiew. He seemed to be
a person of good character, respectful, and a self-motivated hard worker.



Of course, I was not in Washington on the fateful day, but I would strongly believe that Isaac was there
to witness the historic events and was caught up in the events at the capital. I cannot believe that this
hardworking, patriotic young man was involved in planning any of the capital events that took place.
Young men and women at that age can easily be swept up with a mob.



In closing, I recommend that Isaac be given the chance to rejoin society as the productive young man he
was and will continue to be. Being incarcerated he will not be able to make his contributions to society. I
do not believe that he was involved in subversive activities and I know that he loves America.

Sin    rely,           ~

David Shapnick, M.D.
  Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 41 of 42




                                                                                    August 1, 2021




Subject: Letter of support for Isaac Sturgeon



To whom it may concern:

  I am a retired military officer and have known Isaac Sturgeon for more than 15 years. In my
experience Isaac has been a hardworking, reasonable, responsible, and respectful person. Isaac has an
upright reputation. He is not known for lawlessness, rebellion, or loose associations. As such, I would
ask that his history and character be weighed in his favor during any deliberations or proceedings.



Very respectfully,




Terry L Clark
   Case 1:21-cr-00091-RCL Document 195-1 Filed 09/19/23 Page 42 of 42




28 July 2021


To Whom It May Concern:



For approximately Ten (10) years I have been acquainted with Isaac Sturgeon. I consider Isaac to be an
individual of high integrity and moral standing. Isaac is acquainted with all members of my family and
held in high regards by each of us.

As a medical retired United States Navy SEAL, I have no problems in stating it is without reproach that
Mr. Sturgeon holds the country in high esteem. I have respect and admiration for Mr. Sturgeon and the
high standards in which he conducts himself. At no time have I ever witnessed anger or a hostile act in
his actions, he by all accounts is a sincere gentle individual. If I can be of any future assistance do not
hesitate to contact me at



Former United States Navy SEAL



Clinton G. Majors
